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                                 UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF OHIO
                                       WESTERN DIVISION

       UNITED STATES OF AMERICA,
                                                          CASE NO.1:20-CR-77
                      Plaintiff,
                            V.                            JUDGE BLACK

       LARRY HOUSEHOLDER, et al.,                         UNITED STATES' MOTION TO
                                                          LIMIT IRRELEVANT AND
                      Defendants.                         INADMISSIBLE EXPERT
                                                          TESTIMONY



         The United States respectfully submits this motion to limit the testimony of Defendant

Householder's proposed expert, Caleb Burns.1 As set forth in the following memorandum, the Comi

should exclude po1iions of Mr. Bmns' proposed testimony at trial as inelevant and inadmissible.

                                                      Respectfully submitted,

                                                      KENNETH L. PARKER
                                                      United States Attorney


                                                      s/ Emily N Glatfelter
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   1
   Defendant Borges did not disclose any expe1is on September 1, 2022. Defendant Householder
  disclosed Caleb Bmns. The United States has requested reciprocal discove1y of the defendants'
  experts in previous conespondence and does so here as well.
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                                         INTRODUCTION

        Defendant Householder proposes to call Caleb Bums to provide expe1i testimony about

501 (c)(4) entities and PA Cs. To be clear, the defendants are not charged with any campaign finance

or regulat01y violations. Rather, this is a racketeering case, where the grand jmy charged the

defendants with conspiring to conduct and pa1iicipate in the affairs of an ente1p rise through a pattern

ofracketeering activity that consisted of multiple acts indictable under 18 U.S.C. §§ 1343, 1346; 18

U.S.C. § 1951; 18 U.S.C. § 1952; 18 U.S.C. § 1956; 18 U.S .C. § 1957; an d chargeable under Ohio

Rev. Code§ 2921.02. (Doc. 22, ~ 33.)

        The United States anticipates that its case-in-chief will include evidence about 501(c)(4)s

and PACs, because such entities were used to pay, receive, and accept bribes, an d also launder

money for the benefit of the conspirators. As such, the United States anticipates using expe1i

testimony to provide the jmy with the necessaiy background infonnation about these entities in

order to help contextualize the evidence the jmy will hear throughout trial. However, Defendant

Householder 's notice regai·ding Mr. Bums is not liinited to this same type of background and

contextual infonnation about 501(c)(4)s and PACs; rather Mr. Bmns ' proposed testimony will go

faiiher, and stray into in elevant and legally inadinissible ai·eas, including impen nissible testimony

about how other politicians raise money or what is "commonplace." For these reasons, the United

States seeks to establish pretrial the proper boundai·ies of Bums ' testimony, in order to prevent

unnecessaiy delay at trial.2




2
  The United States is not requesting a Daubert hearing via this motion. Any issues with Bmns'
testimony can be addressed through filings, and oral ai·gmnent, if necessaiy.
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                                          BACKGROUND

       On September 1, 2022, pursuant to the Comi 's trial calendar, Householder disclosed Caleb

Bmns as a potential expe1i. See Exhibit A (Notice). The notice described three areas of Bmns'

testimony:

   1. Federal law governing 501(c)(4) activities. Mr. Bums will provide background on the
       federal laws that govern the political activities of a 501(c)(4) organization. In particular, he
       will explain that a 501 (c)(4) organization may engage in candidate-related activities
       provided that doing so is not the organization's primaiy pmpose. Though there ai·e no
       bright-line standai·ds for measuring primaiy pmposes, Mr. Bums will share that relevant
       federal authorities suggest 40% is an appropriate threshold, but in practice, the threshold
       may increase to 49%. Mr. Bums will fmi her explain that lobbying on legislation and
       engaging in ballot measure activities can be a 501 (c)(4) organization's primaiy pmpose
       and, therefore, constitute 100% of the organization's activities.

   2. Officeholder alignment with 501 (c)(4) organizations. Mr. Bums will explain how
      officeholders can be aligned with 501(c)(4) organizations. That is, policy goals and will
      work collaboratively to achieve their mutual goals. Mr. Bums will provide examples
      including: One Nation which is aligned with U.S . Senate Minority Leader Mitch
      McConnell, and Majority Fo1ward which is aligned with U.S. Senate Majority Leader
      Chuck Schumer.

   3. Background on federal "leadership" PACs and private support for an officeholder's
      legislative leadership aspirations. Mr. Bums will explain that a federal "leadership" PAC
      is an entity that an officeholder maintains to raise money from private sources to then
      contribute to the campaigns of allied candidates and officeholders. Mr. Bmns will fmi her
      explain the original intent of "leadership" PACs - and the derivation of the name. That is,
      an officeholder would establish a "leadership" PAC and raise funds from private sources
      to then contribute the fmids to colleagues who, presumably, would vote for the officeholder
      in the legislature's leadership elections (e.g., for positions like Majority Leader or Speaker
      of the House). Mr. Bums will explain that "leadership" PACs remain a fixture of the cmTent
      political system and demonstrate that private suppo1i for an officeholder's legislative
      leadership aspirations is commonplace.

                                       LEGAL STANDARD

       The proponent of expe1i testimony has the burden of establishing the pe1iinent

admissibility requirements by a preponderance of the evidence. Daubert v. Merrell Dow Pharm.,

Inc., 509 U.S. 579, 593 (1993). Under Federal Rule of Evidence 702, "[a] witness who is qualified

as an expe1i by knowledge, skill, experience, training, or education may testify in the fonn of an



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opinion or otherwise[.]” Fed. R. Evid. 702. The expert testimony is only permitted, however,

where four conditions are met:

        [1] the expert’s scientific, technical, or other specialized knowledge will help
        the trier of fact to understand the evidence or to determine a fact in issue;
        [2] the testimony is based on sufficient facts or data;
        [3] the testimony is the product of reliable principles and methods; and
        [4] the expert has reliably applied the principles and methods to the facts of the
        case.

Id. at 702(a)–(d).

        The most critical criterion for expert testimony is the first one – whether it is helpful to the

jury. United States v. Freeman, 730 F.3d 590, 600 (6th Cir. 2013). Testimony about matters

within the common knowledge and experience of a lay juror is not helpful, and thus should not be

permitted. Id. at 597. Expert testimony also does not assist the trier of fact when it is irrelevant,

Daubert, 509 U.S. at 591, or when it conveys legal standards or expresses legal conclusions,

because it “interfere[es] with a district court’s jury instructions” and “tell[s] the jury what result to

reach.” Woods v. Lecureux, 110 F.3d 1215, 1220–21 (6th Cir. 1997); Weinstein’s Federal

Evidence § 704.04[2][a] (“The most common reason for excluding opinion testimony that gives

legal conclusion is lack of helpfulness . . . .”).

        An expert is also prohibited from opining on the defendant’s intent when such mental state

is an element of the offense. Fed. R. Evid. 704(b); United States v. Dunnican, 961 F.3d 859, 876

(6th Cir. 2020). That prohibition extends to testimony that is equivalent to opining on the

defendant’s state of mind. See, e.g., United States v. Warshak, 631 F.3d 266, 324 (6th Cir. 2010)

(“Furthermore, Simpson’s remarks with respect to the ‘design’ of the transactions also implicate

the issue of intent. To say that a transaction is designed to achieve a certain effect is tantamount to

declaring that the individual who conducted the transaction intended to achieve that outcome.”)

(citations and quotations omitted); United States v. Wood, 207 F.3d 1222, 1236 (10th Cir. 2000)

(“If believed, his testimony necessarily dictates the final conclusion that Dr. Wood possessed the
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requisite mens rea for involuntary manslaughter. See United States v. Morales, 108 F.3d 1031,

1037 (9th Cir.1997) (“A prohibited ‘opinion or inference’ under Rule 704(b) is testimony from

which it necessarily follows, if the testimony is credited, that the defendant did or did not possess

the requisite mens rea.”). “[T]his intrusion into the province of the jury is precisely the sort of

testimony Rule 704(b) is designed to prevent.” United States v. Cooper, 286 F. Supp.2d 1283,

1292 (D. Kan. 2003)(excluding proposed expert testimony that defendant’s actions constituted

fraud); United States v. Beavers, 756 F.3d 1044, 1054–55 (7th Cir. 2014) (affirming trial court’s

determination that defense expert could not opine that he (expert) believed 100 checks were loans,

noting that allowing the expert to opine on the issue “would have been the equivalent of opining

on whether the defendant had the ‘willfulness’ necessary for a tax offense.”)

       In addition to Federal Rule of Evidence 702, expert testimony is also subject to Federal

Rule of Evidence 403, which requires the exclusion of evidence where “its probative value is

substantially outweighed by the danger of unfair prejudice, confusion of the issues, [or] misleading

the jury. . . .” Fed. R. Evid. 403. This is particularly salient in regard to expert testimony, which

can be “both powerful and quite misleading because of the difficulty in evaluating it,” and thus the

court “exercises more control over experts than over lay witnesses.” Daubert, 509 U.S. at 595. In

other words, the district court serves in the “role of ‘gatekeeper,’ charg[ed] . . . with evaluating the

relevance and reliability of the proffered expert testimony with heightened care.” Surles ex rel.

Johnson v. Greyhound Lines, Inc., 474 F.3d 288, 295 (6th Cir. 2007); see United States v.

Cunningham, 679 F.3d 355, 380 (6th Cir. 2012).




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                                          ARGUMENT

   A. Mr. Burns’ testimony must not intrude upon the province of the Court.

       In the first bullet, Householder describes testimony by Burns relating to the law governing

501(c)(4) activities.   Although potentially permissible, such testimony must be limited to

background testimony of the regulatory scheme to provide context for the jury.

       As set forth above, it is well-settled that “only the trial judge may instruct a jury as to the

law.” United States v. Zipkin, 729 F.2d 384, 386–87 (6th Cir. 1984); United States v. Gordon, 493

F. App’x 617, 626–27 (6th Cir. 2012) (“Generally, an expert may not state his or her opinion as to

legal standards nor may he or she state legal conclusions drawn by applying the law to the facts.”)

(quoting Okland Oil Co. v. Conoco Inc., 144 F.3d 1308, 1328 (10th Cir. 1998)); United States v.

Kalk, 1989 WL 101539, at *7, 884 F.2d 581 (6th Cir. 1989) (“[T]estimony consisting of legal

opinions on the applicable principles of law in a case is inadmissible.”). “Expert testimony on the

law is excluded because the trial judge does not need the judgment of witnesses.” United States

v. Mazumder, 800 F. App’x 392, 395–96 (6th Cir. 2020) (quoting Zipkin, 729 F.2d at 387).

       Courts recognize that, in narrow circumstances, the district court may allow testimony

about certain legal concepts where the testimony is helpful to the jury and does not conflict with

the Court’s instructions, such as testimony explaining a “complex regulatory scheme.” See United

States v. Lundergan, No. 5:18-CR-00106-GFVT, 2019 WL 3804239, at *3 (E.D. Ky. Aug. 13,

2019); United States v. Offill, 666 F.3d 168, 175 (4th Cir. 2011). But such testimony may not offer

opinion as to the propriety of the defendant’s conduct within that scheme, Lundergan, 2019 WL

3804239, at *3 (excluding opinion relating to whether “defendants’ conduct fell within or without

the bounds of permissible conduct”); draw conclusions relating to the defendant’s intent, Warshak,

631 F.3d at 324; or testify relating to the legal principles the jury must consider, Zipkin, 729 F.2d

at 386–87.


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       Thus, although limited testimony providing background and context relating to 501(c)(4)

entities is potentially permissible, this type of expert testimony must be narrowly crafted to avoid

confusion and to not invade the province of the Court. This means any expert testimony may not

attempt to explain the law in these areas or suggest that the defendant’s conduct comported, or did

not comport, with these laws.

   B. The Court should exclude testimony that “this is how fundraising works,” “everyone
      does it,” and certain acts are “commonplace.”

       In the second bullet, Householder’s notice stated, “Mr. Burns will explain how

officeholders can be aligned with 501(c)(4) organizations” by providing examples, “including:

One Nation which is aligned with U.S. Senate Minority Leader Mitch McConnell, and Majority

Forward which is aligned with U.S. Senate Majority Leader Chuck Schumer.” Exhibit A, p.1–2.

As set forth in the third bullet, Mr. Burns also will purportedly testify that “‘leadership’ PACs

remain a fixture of the current political system” and “private support for an officeholder's

legislative leadership aspirations is commonplace.” Id. at 2 (emphasis added). In other words,

Defendant Householder plans on presenting evidence through Mr. Burns that other public officials

have engaged in “x” conduct, and because they have not been prosecuted, Householder’s conduct

must therefore be legal and/or this prosecution is unfair. This testimony—about what is “routine,”

“typical, ”or “commonplace” in politics—is improper for several reasons.

       First, the Court should prohibit Mr. Burns from testifying about what other people do and

whether their conduct is legal with respect to 501(c)(4)s and PACs, because whether certain

conduct complies or fails to comply with campaign finance regulations is irrelevant, here. The

defendants are not charged with violating campaign finance laws, nor is their compliance with

those laws a defense to the charges in this case. The fact that other politicians might raise money

through a PAC consistent or inconsistent with campaign finance law is irrelevant to whether

Householder agreed to enter a racketeering conspiracy involving bribery. Thus, such testimony is
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not helpful to the jury under F.R.E. 702, and would be confusing under F.R.E. 403. E.g., United

States v. Reed, 908 F.3d 102, 117 (5th Cir. 2018) (affirming exclusion of defense expert’s proffered

“custom and practice” evidence about state ethics board’s treatment of campaign fund

expenditures in wire fraud case because the defendant was not charged with campaign finance

violations and the testimony “would not help the jury understand the core issue of fraud.”).

       Second, testimony about what is “common place” or “typical” is irrelevant and misleading.

Courts routinely exclude testimony suggesting that charged criminal conduct is “typical” or

“routine.” In United States v. Stirling, the Second Circuit strongly denounced efforts to defend a

securities fraud case on the basis that the charged criminal activities amounted to proper and

routine business practice:

               [The defendants] argue that they were prejudiced by the district
               court’s decision to bar questions put by them to their witnesses
               regarding the “normalcy” or “usualness” of certain Greater Gulf
               practices. The district court instructed counsel not to ask witnesses
               about “the legal consequences of things,” such as whether activities
               were “wrong,” “misleading,” “proper,” or “ethical.” For example,
               in response to a question from counsel for the appellants, a state
               court judge from Mississippi testified that because prominent people
               with good reputations were involved in Greater Gulf, he assumed
               that it was “normal” for a non-profit corporation to be used to
               implement the project. Such testimony is not even arguably
               admissible. It would have been an abdication of responsibility if the
               trial judge had not interrupted, as he did, to instruct counsel not to
               ask such questions.

571 F.2d 708, 735-36 (2d Cir. 1978) (emphasis added).

       Other courts, including the Sixth Circuit, have found the same. United States v. Vasilakos,

508 F.3d 401, 409 (6th Cir. 2007) (affirming exclusion of evidence to support “others did it too”

to negate intent to defraud; reasoning that “evidence of fraudulent acts by other employees

including policy making executives, would have no tendency to show that the defendants’ acts

were innocent.”); United States v. Chew, 2015 WL 350624, *9 (S.D. Ohio 2015) (finding argument

that defendant was no more guilty than others in industry, was close to jury nullification and
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rejecting ineffective assistance claim on the failure to call witnesses to support argument); United

States v. Ganesh, 2017 WL 11439117, * 2 (N.D. Cal. 2017) (excluding defense evidence in health

care fraud case that implied “everyone else was doing it”; explaining that the court “will not allow

satellite litigation on how medical practitioners in the United States other than the defendants in

the instant case do their medical billing”).

        At bottom, evidence regarding the acts or conduct of other politicians or individuals, or

what is “typical” in politics with respect to campaign finance is irrelevant to the issues in this case

and, if allowed, would distract and confuse the jury. No one is on trial in this case other than the

defendants, and the jury should not be presented with evidence and counter-evidence as to whether

other individuals outside of this case committed similar acts. In fact, the Sixth Circuit Pattern

Instructions direct the jury to disregard such evidence.3 Accordingly, the Court should preclude

Mr. Burns from testifying about acts engaged in by others or suggesting that defendant’s conduct

was simply part of the American political system.

        Third, the Court should preclude Mr. Burns from testifying about what others do or have

done because it is a backdoor selective prosecution argument, which is inappropriate and

inadmissible before the jury. In other words, by presenting evidence suggesting other public

officials engaged in similar behavior but were not indicted, it wrongly suggests to the jury that

defendants here are being prosecuted improperly.

        A selective prosecution allegation is not a defense to the merits of the criminal charge;

rather, it is “an independent assertion that the prosecutor has brought the charge for reasons

forbidden by the Constitution.” United States v. Armstrong, 517 U.S. 456, 463 (1996). Because


3
 Sixth Circuit Pattern Instruction 2.01: “Also keep in mind that whether anyone else should be
prosecuted and convicted for this crime is not a proper matter for you to consider. The possible
guilt of others is no defense to a criminal charge. Your job is to decide if the government has
proved this defendant guilty. Do not let the possible guilt of others influence your decision in any
way.”
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it is inelevant to the issue of the guilt or innocence of the defendant, it is not a proper issue for a

jmy. 4 United States v. Abboud, 438 F.3d 554, 579 (6th Cir. 2006) ("the defense of selective

prosecution is a matter that is independent of a defendant's guilty or innocence, so it is not a matter

for the jmy"). Accordingly, disti·ict comis have excluded at ti·ial evidence and arguments even

suggesting selective prosecution and other defects in the institution of prosecution, and these

decisions have been upheld on appeal. For example, in Abboud, the disti·ict court granted a motion

in limine to preclude evidence of selective prosecution at ti·ial. Id. at 580. The Sixth Circuit upheld

the disti·ict comi 's exclusion of the evidence, because "selective prosecution is not an issue for the

jmy." Id. Relying on Abboud, the Sixth Circuit has affnmed the exclusion of similar arguments

in other cases. See United States v. Darwich, 574 F. App 'x 582, 589 (6th Cir. 2014); see also

United States v. Simpson, 226 F. App'x 556, 562 (6th Cir. 2007) (citing Abboud, concluding

disti·ict court was conect to prohibit prosecutorial vindictiveness theo1y at ti·ial). The Court should

prohibit such arguments here, under the guise of expe1i testimony.

         Finally, this testimony should be excluded because it functions as a proxy for

Householder 's own testimony about his intent, which is impennissible. An expe1i is prohibited

from opining on the defendant's state of mind. Fed. R. Evid. 704(b); Dunnican, 961 F.3d at 876.

That prohibition extends to testimony that, while not expressly opining on the defendant's state of

mind, is equivalent to it. Warshak, 631 F.3d at 324 ("Fmi he1more, Simpson's remarks with respect

to the 'design' of the ti·ansactions also implicate the issue of intent. To say that a ti·ansaction is

designed to achieve a ce1iain effect is tantamount to declaring that the individual who conducted

the ti·ansaction intended to achieve that outcome.") (citations omitted); see also Morales, l 08 F .3d

at 1037; Beavers, 756 F.3d at 1054-55.



4
 A selective prosecution claim, like other claims alleging a defect in prosecution, are made preti·ial
via Fed. R. Crim. P. 12(b)(3).
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       It is thus impennissible for the defense to use Mr. Bums ' testimony to suggest that

Householder lacked the requisite intent because his actions were "typical" in American politics or

"common" of other politicians. See, e.g ., United States v. Rodriguez, 2016 WL 5847008, *1 (E.D.

Ca. 2016) (in wire fraud case, finding i1Televant "any evidence about the general practices of the

mo1i gage industiy, in effect that 'eve1yone was doing it,"' because it does not negate the

defendant's intent); United States v. Reed, 2016 WL 6946983, at *25- 27 (E.D. La. Nov. 28, 2016),

aff'd, 908 F.3d 102, 117 (5th Cir. 2018) (excluding expe1i in fraud case because the purpo1ied

expe1i "had no basis to testify as to [the defendant's] beliefs" and "[the defendant] is the most

appropriate witness to testify about his own mens rea," among other reasons); United States v.

Kahn , 711 F. Supp. 2d 9 (D.D.C. 2010) (precluding expe1i from testifying that his actions were

typical of others in suppo1i of defendant's defense that he acted in good faith); United States v.

Herzog, 632 F.2d 469, 473 (5th Cir. 1980) (affmning court's exclusion of defense expe1i's

proffered testimony that "tax laws are complex and that even law students, law professors, and

attorneys find the subject ve1y difficult" because their beliefs about the tax laws were iITelevant)).

       If Defendant Householder wants to testify, he may do so. But, he cannot offer evidence

about his intent explicitly or implicitly through the testiinony of Mr. Bums.

   C. The Court should exclude Mr. Burns' proposed testimony about federal leadership
      PACs.

       In the thiI·d bullet, Householder provided notice that Mr. Bums will testify about the

background, origin, and intended use of "leadership" PACs as a "fixture of the cmTent political

system." Exhibit A, p.2.

       But testiinony about federal leadership PACs is iITelevant and would confuse the jmy. The

Federal Election Commission ("FEC") regulates federal "leadership PACs," as defined by federal

law. See 11 C.F.R. § 100.5(e)(6) ("leadership PAC" is political committee for "a candidate for

Federal office or an individual holding Federal office"). There is no evidence that the defendants in
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this case had or operated any federal leadership PACs during the relevant time period. Indeed, as

alleged in the Indictment, Householder received bribe payments through a 501(c)(4) entity, not a

PAC, much less a "leadership" PAC. And the only PAC named in the Indictment is not a leadership

PAC, as defined and regulated by the FEC. Thus, testimony about the histo1y, requirements, and

common use of leadership PACs is inelevant. Moreover, given its inelevance, pennitting such

testimony would be a waste of time and confusing for the jmy under Rule 403.

                                        CONCLUSION

       The Comt should grant the United States' Motion to Limit hTelevant and Inadmissible

Expert Testimony for the reasons explained above.




                                                    Respectfully submitted,

                                                    KENNETH L. PARKER
                                                    United States Attorney


                                                    s/ Emily N Glatfelter
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                                  CERTIFICATE OF SERVICE

       I hereby certify that the foregoing was filed with the Court’s CM/ECF System this 26th day

of September 2022, which provides electronic notice to all parties.

                                                      s/ Emily N. Glatfelter
                                                      EMILY N. GLATFELTER (0075576)
                                                      Assistant United States Attorney




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